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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 D. EDWARD HAYS, #162507
 ehays@marshackhays.com
 AARON E. DE LEEST, #216832                                                                              FILED & ENTERED
 adeleest@marshackhays.com
 MARSHACK HAYS WOOD LLP
 870 Roosevelt                                                                                                   JAN 24 2025
 Irvine, California 92620
 Telephone: (949) 333-7777                                                                                 CLERK U.S. BANKRUPTCY COURT
 Facsimile: (949) 333-7778                                                                                 Central District of California
                                                                                                           BY bolte      DEPUTY CLERK


     Attorney for: Chapter 11 Trustee and Liquidating
 Trustee, RICHARD A. MARSHACK

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:23-bk-10571-SC
                                                                              CHAPTER: 11
 THE LITIGATION PRACTICE GROUP P.C.,
                                                                               ORDER ON APPLICATION
                                                                               FOR PAYMENT OF:
                                                                                   INTERIM FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 331)
                                                                                   FINAL FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 330)
                                                                              DATE: January 14, 2025
                                                                              TIME: 10:00 a.m.
                                                                              COURTROOM: 5C
                                                                              PLACE: 411 W. Fourth Street
                                                                              Santa Ana, CA 92701

                                                              Debtor(s).         ▪ EXHIBIT ATTACHED
                                                                              (PARTIES’ SIGNATURE PAGE)


1. Name of Applicant (specify): Grobstein Teeple, LLP; Robert F. Bicher & Associates; Marshack Hays Wood LLP; Fox
Rothschild LLP; Richard A. Marshack, Trustee; Force Ten Partners; Dinsmore & Shohl LLP; Nancy Rapoport; Omni Agent
Solutions, Inc.; and Khang & Khang LLP (collectively, “Professionals” or “Applicants”).

2.   This proceeding was heard at the date and place set forth above and was                                Contested              Uncontested

3.   Appearances were made as follows:
     a.        Applicants present in court
     b.        Attorney for Applicant present in court (name):
     c.        Attorney for United States trustee present in court
     d.        Other persons present as reflected in the court record

4.   Applicant gave the required notice of the Application on (specify date): 12/16/2024 and 12/26/2024

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5.   The court orders as follows:
     a.     Application for Payment of Interim Fees is approved as follows:
        (1)      Total amount allowed: $ See Chart Below
        (2)      Amount or percentage authorized for payment at this time:

     b.        Application for Reimbursement of Interim Expenses is approved and authorized for payment:
                  Total amount allowed: $

     c.        Application for Payment of Final Fees is approved in the amount of: $ See Chart Below

     d.        Application for Reimbursement of Final Expenses is approved and authorized for payment:
                  Total amount allowed: $ See Chart Below

     e. (1)          Application is denied
                        in full
                        in part
                        without prejudice
                        with prejudice
           (2) Grounds for denial (specify):

     f.        The Court further orders based on the Professionals’ consent to the Court’s retention of jurisdiction and
               authority to order any disgorgement as may be necessary as set forth on the record at the hearing by the
               appearing Professionals and the Professionals not appearing, Nancy Rapoport and Omni Agent Solutions,
               having filed their consents with the Court (see Dk. Nos. 2032 and 2048), and for the reasons set forth on the
               record at the hearing (specify):

                (1) The Court possesses the authority under 11 U.S.C. § 105 to order disgorgement of final fees allowed in
          this order, if necessary, consistent with the position articulated in Weigel v. Barnard, 2021 U.S. Dist. LEXIS 161895
          (USDC E.D.N.Y. 2021). All Professionals have consented to the Court’s retention of jurisdiction and authority to
          order any disgorgement as may be necessary to prorate payments made to allowed administrative expense claims
          should future administrative expenses be allowed on a final basis and the Trust and/or the Estate lacks sufficient
          funds to pay them within the 60-day period set forth in the Plan.

               (2) All Professionals have consented to any necessary request for disgorgement to be made by motion and
          not by adversary proceeding.

                (3) Richard A. Marshack, as the Chapter 11 Trustee, is authorized to receive the statutory maximum amount
          of his fee under 11 U.S.C. § 326 based on the disbursements made and to be made on account of estate liabilities.
          In re Stewart, 157 B.R. 893, 897-98 (B.A.P. 9th Cir. 1993). After the hearing, the Trustee voluntarily agreed not to
          seek a fee for the turnover of post-Effective Date settlement funds to the Trust in this instance because all estate
          funds will have been exhausted by payment of allowed administrative fees and other estate claims. As such, the
          allowed amount of the Trustee’s compensation set forth below is lower than what was awarded during the hearing.

               (4) Pursuant Section IV.B.3.e. of the Modified First Amended Joint Chapter 11 Plan of Liquidation (Dated
          June 14, 2024) (“Plan”), Docket No. 1344, which the Court confirmed by order entered on September 9, 2024
          (“Confirmation Order”), Docket No. 1646, the LPG Liquidation Trust (“Liquidation Trust”) is liable for all debts of the
          bankruptcy estate that are required to be Paid pursuant to the Plan including any allowed administrative or priority
          claims and the Liquidating Trustee is authorized to make such payments from the Liquidation Trust.




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            (5) The following professional fees and expenses are allowed on a final basis:


  Professional                                         Fees for                Expenses for          Allowed Total            Allowed Final
                                                       current period          current               Final Fees and           Unpaid Fees &
                                                                               period                Expenses                 Expenses to be
                                                                                                                              Paid

  Marshack Hays Wood LLP – Dk. No. $340,416.00                                 $2,224.32             $1,657,768.00            $518,607.04 &
  1896                                                                                               & $49,122.01             $2,224.32
  General Counsel for Trustee
  Second and Final Fee Application                                                                   1. Fee Amount            1. Fee Amount
  August 1, 2024, through and                                                                        reflects the             reflects the
  including September 23, 2024                                                                       $15,000                  $15,000
                                                                                                     reduction as             reduction as per
                                                                                                     per Stipulation          Stipulation with
                                                                                                     with                     Committee filed
                                                                                                     Committee                1/8/25 [Dk. No.
                                                                                                     filed 1/8/25             2014]
                                                                                                     [Dk. No. 2014]

                                                                                                     2. Includes              2. Includes fees
                                                                                                     deferred fees            deferred and
                                                                                                     of $66,617.60            held back per
                                                                                                     held back per            the First Order.
                                                                                                     the Order                The deferred
                                                                                                     allowing                 fees of
                                                                                                     interim fees             $66,617.60 may
                                                                                                     entered on               only be paid
                                                                                                     10/1/24, as Dk.          after
                                                                                                     No. 1778                 satisfaction of
                                                                                                     (“First Order”).         the conditions
                                                                                                                              set forth in the
                                                                                                                              First Order.

  Dinsmore & Shohl LLP – Dk. Nos.                      $1,202,050.00           $5,812.54             $5,983,738.75            $1,887,913.50
  1900, 1991                                                                                         & $63,191.65             & $5,812.54
  Special Counsel for Trustee
  Second and Final Fee Application                                                                   1. Fee Amount            1. Fee Amount
  July 1, 2024, through and including                                                                includes a               includes a
  September 23, 2024                                                                                 holdback of              holdback of
                                                                                                     $962,191                 $962,191
  Supplemental Fees – Dk. No. 1991                     $33,363.50                                    (which                   (which includes
  Additional Estimate to review,                       $2,500.00                                     includes the             the $650,000
  revise, reply and attend hearing                                                                   $650,000 held            held back from
  Total Request                                        $1,237,913.50                                 back from the            the First Fee
                                                                                                     First Fee                Application) as
                                                                                                     Application) as          per Dinsmore
                                                                                                     per Stipulation          Stipulation. The
                                                                                                     with                     holdback
                                                                                                     Committee                amount of
                                                                                                     filed 12/31/24           $962,191 may
                                                                                                     [Dk. No. 1999]           only be paid
                                                                                                     (“Dinsmore               after
                                                                                                     Stipulation”)            satisfaction of
                                                                                                     and approved             the conditions
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  Professional                                         Fees for                Expenses for          Allowed Total            Allowed Final
                                                       current period          current               Final Fees and           Unpaid Fees &
                                                                               period                Expenses                 Expenses to be
                                                                                                                              Paid

                                                                                                     1/14/25 [Dk.             set forth in the
                                                                                                     No. 2035]                Dinsmore
                                                                                                                              Stipulation.

                                                                                                     2. Includes              2. Includes
                                                                                                     reduced fees of          reduced fees of
                                                                                                     $19,767.50 to            $19,767.50 to
                                                                                                     be paid only             be paid only
                                                                                                     pursuant to the          pursuant to the
                                                                                                     Dinsmore                 Dinsmore
                                                                                                     Stipulation.             Stipulation.

  Fox Rothschild LLP – Dk. No. 1897                    $120,495.50             $2,517.60             $1,164,669.00            $224,912.85 &
  Counsel to the Committee of                                                                        & $19,939.22             $2,517.60
  Unsecured Creditors
  Second and Final Fee Application
  August 1, 2024, through and
  including September 23, 2024

  Grobstein Teeple, LLP – Dk. No.                      $77,390.00              $46.03                $384,856.50 &            $149,644.63 &
  1885                                                                                               $97.06                   $46.03
  Accountants for Trustee                                                                            Payment of               Payment of fees
  Second and final Fee Application                                                                   fees are subject         are subject to
  July 1, 2024, through and including                                                                to terms of              terms of
  September 23, 2024                                                                                 employment               employment
                                                                                                     agreement,               agreement,
                                                                                                     requiring a              requiring a
                                                                                                     holdback of              holdback of
                                                                                                     15%. The total           15%. The
                                                                                                     reduced                  unpaid reduced
                                                                                                     allowed                  allowed amount
                                                                                                     amount is                is $91,916.17.
                                                                                                     $327,128.04.             The remaining
                                                                                                     The full                 unpaid allowed
                                                                                                     allowed                  amount may be
                                                                                                     amount may be            paid when
                                                                                                     triggered by a           triggered by a
                                                                                                     distribution of          distribution of
                                                                                                     25% or more to           25% or more to
                                                                                                     unsecured                unsecured
                                                                                                     creditors.               creditors.

  Omni Agent Solutions, Inc. – Dk. No. $57,861.45                              $33,887.51            $884,506.05 &            $140,525.91 &
  1959                                                                                               $106,286.63              $33,887.51
  Claims and Noticing Agent for Estate
  Second and Final Fee Application
  August 1, 2024, through and
  including September 23, 2024


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  Professional                                         Fees for                Expenses for          Allowed Total            Allowed Final
                                                       current period          current               Final Fees and           Unpaid Fees &
                                                                               period                Expenses                 Expenses to be
                                                                                                                              Paid

  Nancy Rapoport – Dk. No. 1901                        $17,678.18              $575.00               $127,170.68 &            $23,252.56 &
  Ethics Compliance Monitor                                                                          $8,019.98                $575.00
  Third and Final Fee Application
  August 1, 2024, through and
  including September 23, 2024

  Force Ten Partners – Dk. No. 1899                    $63,104.00              $0                    $250,724.00 &            $81,866.00 &
  Second and Final Fee Application                                                                   $0.00                           $0.00
  Financial Advisor to the Official
  Committee of Unsecured Creditors
  August 1, 2024, through and
  including September 23, 2024

  Robert F. Bicher & Associates – Dk.                  $15,412.00              $15.00                $87,962.00 &             $17,052.40 &
  No. 1889, 1990                                                                                     $1,274.29                $0.00
  First Interim Fee Application
  Field Agent and Forensic Analyst to
  Trustee
  August 1, 2024, through and
  including September 23, 2024
  Less previously approved payments                    ($729.60)               ($15.00)
  Balance Due                                          $14,682.40              $0.00

  Supplemental Fees                                    $2,370.00
  Total Current Request                                $17,052.40

  Richard A. Marshack – Dk. No. 1898                   $504,579.06             $250.45               $523,225.96 &            $77,034.72 &
  Second and Final Report and                                                                        $250.45                  $250.45
  Account
  August 1, 2024, through and
  including September 23, 2024

  Less previously approved payments                    ($452,700.34)           $0
  Balance Due                                          $51,878.72              $250.45

  Supplemental Fees                                    $18,646.90
  Total Current Request                                $70,525.62

  Khang & Khang LLP – Dk. No. 1983 $4,120.00                                   $1,857.30             $4,120.00 &              $4,120.00 &
  Debtor’s Counsel                                                                                   $1,857.30                $1,857.30
  April 11, 2023, through and including
  May 2, 2023




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    The Trustee is authorized to immediately pay from funds belonging to the Estate or the Trust the allowed final, unpaid
    fees and expenses set forth above subject to satisfaction of the conditions for payment of deferred fees as set forth in
    the First Order and any holdback amounts noted above.


                                                                        ###




                Date: January 24, 2025




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                                        [EXHIBIT – PARTIES’ SIGNATURE PAGE]
APPROVED AS TO FORM BY:



Dated: January __,
                 2025                                              CK H
                                                               MARSHACK HAYS
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                                                                          YS LL
                                                                             L P
                                                                             LLP
                                                               By:
                                                                         D. ED
                                                                            EDWARD
                                                                             DWARD HAYSHAYYS
                                                                         AARON E. DE LEEST
                                                                         Attorneys for Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK
Dated: January 23, 2025                                        DINSMORE & SHOHL LLP

                                                               By:
                                                                         CHRISTOPHER CELENTINO
                                                                         YOSINA M. LISSEBECK
                                                                         Special Counsel to Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK

Dated: January __, 2025                                        FOX ROTHSCHILD LLP


                                                               By:
                                                                         KEITH C. OWENS
                                                                         NICHOLAS A. KOFFROTH
                                                                         Attorneys for OFFICIAL COMMITTEE
                                                                         OF UNSECURED CREDITORS OF THE
                                                                         LITIGATION PRACTICE GROUP PC
Dated: January __, 2025                                        GROBSTEIN TEEPLE, LLP


                                                               By:
                                                                         JOSHUA R. TEEPLE
                                                                         Accountants for Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK


Dated: January __, 2025                                        By:
                                                                         RICHARD A. MARSHACK,
                                                                         Chapter 11 Trustee




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Dated: January __, 2025                                        MARSHACK HAYS LLP

                                                               By:
                                                                         D. EDWARD HAYS
                                                                         AARON E. DE LEEST
                                                                         Attorneys for Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK

Dated: January __, 2025                                        DINSMORE & SHOHL LLP


                                                               By:
                                                                         CHRISTOPHER CELENTINO
                                                                         YOSINA M. LISSEBECK
                                                                         Special Counsel to Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK

Dated: January 23, 2025                                                       LLP
                                                               FOX ROTHSCHILD LLP


                                                               By:
                                                                         KEITH C. OWENS
                                                                                   OWE
                                                                                     WENS
                                                                                     WE  N
                                                                         NICHOLAS A.  A KOFFRO
                                                                                        KOFFROTH
                                                                         Attorneys for OFFICIAL COMMITTEE
                                                                         OF UNSECURED CREDITORS OF THE
                                                                         LITIGATION PRACTICE GROUP PC

Dated: January __, 2025                                        GROBSTEIN TEEPLE, LLP


                                                               By:
                                                                         JOSHUA R. TEEPLE
                                                                         Accountants for Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK


Dated: January __, 2025                                        By:
                                                                         RICHARD A. MARSHACK,
                                                                         Chapter 11 Trustee




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APPROVED AS TO FORM BY:



Dated: January __, 2025                                        MARSHACK HAYS LLP

                                                               By:
                                                                         D. EDWARD HAYS
                                                                         AARON E. DE LEEST
                                                                         Attorneys for Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK
Dated: January __, 2025                                        DINSMORE & SHOHL LLP


                                                               By:
                                                                         CHRISTOPHER CELENTINO
                                                                         YOSINA M. LISSEBECK
                                                                         Special Counsel to Chapter 11 Trustee,
                                                                         RICHARD A. MARSHACK
Dated: January __, 2025                                        FOX ROTHSCHILD LLP


                                                               By:
                                                                         KEITH C. OWENS
                                                                         NICHOLAS A. KOFFROTH
                                                                         Attorneys for OFFICIAL COMMITTEE
                                                                         OF UNSECURED CREDITORS OF THE
                                                                         LITIGATION PRACTICE GROUP PC
Dated: January23
              __, 2025                                         GROBSTEIN TEEPLE, LLP


                                                               By:
                                                                         JJOSHUA
                                                                         JOOSH
                                                                            S UA RR.. TEEPLE
                                                                          Accountants for Chapter 11 Trustee,
                                                                          RICHARD A. MARSHACK


Dated: January __, 2025                                        By:
                                                                         RICHARD A. MARSHACK,
                                                                         Chapter 11 Trustee




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